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State of Minnesota                                                  District Court
Count5r of Hennepin                           Judicial District:      Fourth
                                              Court File Number:
                                              Assigned Judge:
                                              Case Type:
                                                                      Civil




CoryLarsen
Plaintiff

VS.
                                                                       SUMMONS

             LLC       Comenity Capital Bank
                    Banh Comenity Operating
Çe. T..LC,   and Comenþ ServicingLLC
Defendants



        1. YOU ARE BEING SUED. The Plaintifthas started a lawsuit against you. The
Plaintiffs Complaint against you is attached to this suÍtmons. Do not throw these papers away.
They are official papers that affect your rights. You must respond to this lawsuit even though it
may not yet be ñled with the Court and there may be no court file ntrmber on this sunmons.
       2. YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGIITS. YOU
must give or mail to the person who signed this summons a written response called an Answer
within 20 days ofthe date on which you received this Summons. You must send a copy of your
Answer to the person who signed this summons located at:
       619 South Tenth Street
       Suite 301
       Minneapolis, MN 55404
        3.YOU MUST RESPOI\D TO EACII CLAIII{. The Answer is your written response
to the Plaintiffs Complaint. In your Answer you must state whether you agree or disagree with
each paragraph of the Complaint. If you believe the Plaintiffshould not be given everything
asked for in the Complaint, you must say so in your Answer.

           WILL LOSE YOUR CASE IF YOU ÐO NOT SEIqÐ A WFJTTEN
       4. YOU
RESPONSE TO TIIE COMPLAINT TO THE PERSON WHO SIGI\TED THIS
SUMMONS. If you do not Answer within 20 days, you will lose this case. You will not get to
tell your side ofthe story, and the Court may decide against you and award the Plaintiff
everything as{<ed for in the complaint. If you do not want to contest the claims stated in the
complaint, you. do not need to respond. A default judgment can then be entered against you for



                                    EXHIBIT             R
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the relief requested in the complaint.

       5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. Ifyou        do not
have a lawyer, the Court Administrator may have information about places where you can get
legal assistance. Even   if you cannot get tegal help, you must stü provide a written Answer to
protect your rights or you may lose the case.
       6. ALTERNATM DISPUTE RESOLUTION.                       The parties may agree to or be
ordered to participate in an alternative dispute resolution process under Rule 114 of the
Minnesota General Rules of Practice. You must still send your written response to the
Complaint even if you expect to use alternative means of resolving this dispute.




Dated: Jvne26,20l5                       Respecttully,




                                         MADGETT & CHAN, LLC
                                         Ryan D. Peterson (#0389607)
                                         David J.S. Madgett (#03900494)
                                         619 South Tenth Street
                                         Suite 301
                                         Minneapolis, MN 55404
                                         (612\367-6s68
                                         rpeterson@madgettlaw. com
                                         dmadgett@madgettlaw. com
                                         ATTORNEYS FOR PLAINTIFF
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STATE OF'MINNESOTA                                                           DISTRICT COURT
County of Hennepin                               Judicial District:          Fourth (Hennepin)
                                                 Case Type:                  Civil



                                                 )
                                                 )
                                                 )
Cory Larse,n                                     )
Plaintiff                                        )
                                                 )
vs.                                              )                    COMPLAINT
                                                 )
ComenityLLC DIBIA Comenity Capital )
Bank DIBIA Comenity Bank, ComenitY )
Operating Co- LLC, and Comenity Servicing        )
LLC                                              )
Defendants                                       )




      PLAINTIFF, as and for his causes of action (i.e., violations of the Telephone Consumer Protection

      Act and invasion of privacy under the common law of Minnesota) against the above-named

      defendan! states and alleges as follows:

                                                 Introduction

       l.      The following case alleges prolonged harassment by Defendant. On an ongoing basis

      Defendant used an automatic telephone dialing system (the "Autodialing System") to repeatedly

      call and harass Plaintiff on his personal cell phone. Defendant continued this behavior despite

      repeated requests from Plaintiff that Defendant cease communication- Without further recourse

      available, Plaintiff commenced this action.
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                                     Statement of J urÍsdiction

2.     This Court has Jurisdiction over the subject matter of this action pursuant to Minn. Stat-

$484.01 and the Telephone Consumer Protection Act
                                                        ('TCPA'),   47 U.S.C - ç227 (bX3)-

                                              Venue

3.     Venue is proper ptrsuant to Minn- Stat. $542.09 because the cause of action arose within

the State of Minnesota and the County of Hennepin-

                                              Parties

4.     Plaintiff Cory Larsen is an adult resident of Hennepin County, Minnesota.

5.     Defendant is a foreign corporation not licensed to conductbusiness in the state       of

Minnesota.

6.     Plaintiff is informed and believes, and thereon alleges, that at all times relevant

Defendant conducted business in the State of Minnesot¿ and in the County of Hennepin.

                                               Facts

7.     Plaintifiis, and at all times mentioned herein'rilas, a'þerson"   as defined   by 47 U.S-C. $

rs3 (3e).

B.     Defendant is, and at all times mentioned herein was, a'þerson" as defined by 47 U.S-C- $

153 (3e).

g.     plaintiffs telephone number, (xxx) xxx-0709, is assigned to a "cellular telephone

servicd' as that term is used in 47 U.S.C. $ 227 (bX1)(AXiÐ.

10.    Plaintiff is informed and believes, and thereon alleges, that on multiple occasions all prior

to the date this complaint was filed, Defendant contacted Plaintiffon Plaintiffs cellular

telephone via an "automatic telephone dialing system" as defined by 47 U.S.C. ç 227 (aXl).
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l   l.   On several occasions Defendant's auto-dialing system would dial Plaintiff; when       Plaintiff

answered these phone calls, a representative was either entirely unavailable or a pre-recorded

message came on the line.

12.      The telephone number Defendant called was assigned to a cellular telephone service,

pursuant to 47 U.S.C. ç 221   (bxl).

13.      Plaintiffis inforrned and believes, and thereon alleges, that these telephone calls

constituted calls that were not for emergency purposes as defined by 47 U.S.C - ç 227

(bXlXAXr).

14.      Defendant placed or caused to be placed these telephone calls iir violation of 47 U.S.C- $

227þ)(t).

15.      On several occasions Plaintiff requested that Defendant stop calling him, yet the calls    in

question continued.

16.      Defendant clearþ placed the aforementioned calls with a direct intention of harassing

Plaintiff.

17.      The calls in question were offensive and intrusive in that the calls were made in both an

unreasonable volume and were often placed before 8:00 a.m. and after 9:00 p.m.

18.      In addition to the calls in question, Defendant sent Plaintiffunsolicited text messages

demanding payment and" in some cases, marketing other banking services.



                                           Specilic Claims

    Count I - Negligent Violations of the Telephone Consumer Protection Act 47 U-S.C. ç 227 Et

                                                  seq-
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19.    plaintiff incorporates by reference all of the above paragraphs of this Complaint     as


though fully stated herein.

20.    The foregoing acts and omissions of Defendant constitute mrmerous and         multþle

negligent violations of the TCPA, including but not limited to each and every one of the above-

cited provisions of 47 U.S.C. $ 227 etse'q-

2l-    As a result of Defendanfs negligent violations of 47 U.S.C. ç227 et seq, Plaintiffis

entitled to an award of $500.00 in statutory damages for each and every violation, pursuant to 47

u.s.c. $ 227(bx3XB).

ZZ.    plaintiffis also entitled to seek injunctive relief prohibiting such conduct in the future.



  Count II   - Knowing   and/ or Willful Violations of the Telephone Consumer Protection Ãct 41

                                          U.S.C. $ 227 Et Seq.



23.    Plaintiffincorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein.

24.    The foregoing acts and omissions of Defendant constitute ûumerous and multiple

knowing and/ orwillful violations of the TCPA, including but not limitedto each and every one

of the above-cited provisions of 47 U.S.C. ç 227 et seq-

25.    As a result of Defendanfs knowing and/ or willful violations of 47 U.S.C. ç 227 et seq-,

Plaintiffis entitled to treble damages,   as   provided by statute, up to $1,500.00 for each and every

violation, pursuant to 47 U.S.C. $ 227(bX3)(B) and 47 U.S.C- $ 227(bX3XC)'
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            Count   III - Common Law lnvasion of Privacy by Intrusion Upon Seclusion

26.      plaintiffincorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein.

27   -   The foregoing calls placed by Defendant constitute an intentional intrusion upon the

seclusion of Plaintiff.

2g-      plaintiffhas   a reasonable expectation of      privacy in that he reasonably does not expect to

be repeatedly called on his cellular telephone before 8:00 a.m. and after 9:00
                                                                               p'm'

29-      plaintiffhas   a reasonable expectation   of privacy in that pelsons calting his cellular phone

are not intending to harass him-

30.      Both the timing and the sheer volume of calls were highly offensive to Plaintiffand

would be similarly offensive to a reasonable Minnesota consumer.

31.      As a result of Defend¿nt's invasion upon the seclusion of PlaintifÇ Plaintiff is entitled to

damages including such fair compensation as a court or
                                                                 jury may deem appropriate'



                                               Jury Demand

32.      Plaintiff hereby demands    a   trial byiury.



                                              PraYer for Relief

         WHEREFORE, Plaintiff, Cory Larsen, by and througb his attomey, respectfully prays for

Judgment to be eûtered in favor of Plaintíffand against Defendant as follows:

                 a.       All actual compensatory        damages suffered;

                 b.       Statutory damages of $500.00 per violation, pursuant to 47 U-S-C.

                           $227(bX3XB);
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                                        Acknowledgement

plaintiff acknowledges that, pursuantto Minn. Stat. Sec. 549.21sub. 2, the Court in its discretion
may award costs, diãbursemónts, reasonable attomey's fees and witness fees to the parties against
whãm costs, disbursements, reasonable attorney's fees and witness fees were charged in bad faith.




Dated:   ltne26,20l5          BY:
                                      DavidJ.S. Madgett
                                      ATTORTEY FOR PLAINTIFF
